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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION AT JACKSON

VALLENA GREER                                                                      PLAINTIFF

VS.                                                       CAUSE NO. 3:21-cv-526-HTW-LGI

KROGER LIMITED PARTNERSHIP I
AND JOHN DOES 1-10                                                              DEFENDANTS


                    ANSWER AND DEFENSES OF KROGER DEFENDANT

       COMES NOW Defendant, Kroger Limited Partnership I, (sometimes referred to

throughout as “Kroger Defendant” or simply as “Kroger”), by and through counsel, and in answer

to the Complaint state as follows:

                                       FIRST DEFENSE

       That the Complaint does not state a cause of action against any Defendant sufficient under

law for any type of recovery and therefore all claims should be denied and the Complaint should

be dismissed with prejudice. Fed. R. Civ. P. 12.

                                     SECOND DEFENSE

       Answering the allegations of the Complaint, and without waiving any defenses, the Kroger

Defendant states:

                                          I. PARTIES

       1.      Kroger is without sufficient information to admit or deny the allegations of

Paragraph 1 of the Complaint.

       2.      The Defendant, Kroger Limited Partnership I, admits that it has been served and

that it is an Ohio Corporation, headquartered in Ohio. Further, Defendant provides the following

CORPORATE DISCLOSURE STATEMENT for KROGER LIMITED PARTNERSHIP I. The

partners of Kroger Limited Partnership I are: KRGP Inc. is the general partner. It is an Ohio
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Corporation with Ohio citizenship. There are no parent corporations nor any publicly held

corporations which own ten percent (10%) or more of its stock. The Kroger Co. is the limited

partner. It is an Ohio Corporation with Ohio citizenship. There are no parent corporations nor any

publicly held corporations which own ten percent (10%) or more of its stock.

       3.      Kroger is without sufficient information to admit or deny the allegations of

Paragraph 3 of the Complaint. To the extent Plaintiff is seeking to impute liability to this

Defendant, those allegations are denied.

                               II. JURISDICTION AND VENUE

       4.      Kroger denies the allegations of Paragraph 4 of the Complaint.

                                           III. FACTS

       5.      Kroger notes that the allegations of Paragraph 5 are conclusory statements of law

or fact which require no response at this time.

       6.      Kroger notes that the allegations of Paragraph 6 constitute conclusory statements

of law or fact which require no response at this time. Kroger admits only, and without waiving any

objections or defenses, that Kroger Limited Partnership I operates the Kroger store located at 4910

I-55, Jackson, Mississippi 39211.

       7.      Kroger is without sufficient information to admit or deny the allegations of

Paragraph 7 of the Complaint. Kroger admits only, and without waiving any objections or

defenses, that it operated the Kroger Store located at 4910 I-55, Jackson, MS on or about October

6, 2018. The remaining allegations are denied.

       8.      Kroger is without sufficient information to admit or deny the allegations of

Paragraph 8 of the Complaint. Kroger admits only, and without waiving any objections or

defenses, that it operated the Kroger Store located at 4910 I-55, Jackson, MS on or about October

6, 2018. The remaining allegations are denied.

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       COUNT 1 – CLAIM FOR PREMISES LIABILITY AGAINST DEFENDANT,
                                 KROGER LIMITED PARTNERSHIP, I

        9.      Kroger notes that the allegations of Paragraph 9 constitute conclusory statements

of law or fact which require no response at this time and are denied.

        10.     Denied as stated. The allegations of Paragraph 10 constitute conclusory statements

of law or fact which require no response at this time and are denied.

        11.     Denied as stated. Kroger notes that the allegations of Paragraph 11 and its subparts,

(a.) through (q.) merely constitute conclusory statements of law or fact which require no response

at this time. To the extent Plaintiff is seeking to impute liability to this Defendant, those allegations

are specifically denied. This Defendant expressly denies any fault or liability at this time.

        In answer to the paragraph immediately following Paragraph 11 which begins with the

phrase “WHEREFORE, PREMISES CONSIDERED,” Kroger Defendant at this time denies

liability and denies that the Plaintiff is entitled to a judgment against it for any of the claims and

allegations included in the complaint, or for any forms of compensatory damages, consequential,

incidental, extra-contractual and/or punitive damages, or costs and expenses, costs of court,

attorney's fees, pre-judgment interest, post-judgement interest or for any other relief or recovery

of any kind, type, or sort whatsoever.

    COUNT 2 – CLAIM OF NEGLIGENCE UNDER THE NON-DELEGABLE DUTY
     DOCTRINE AGAINST DEFENDANT, KROGER LIMITED PARTNERSHIP, I
        12.     Denied as stated. Kroger notes that the allegations of Paragraph 12 and its subparts,

(a.) through (q.) merely constitute conclusory statements of law or fact which require no response

at this time. To the extent Plaintiff is seeking to impute liability to this Defendant, those allegations

are specifically denied. This Defendant expressly denies any fault or liability at this time.

        13.     Kroger notes that the allegations of Paragraph 13 constitute conclusory statements

of law or fact which require no response at this time. Kroger admits only, and without waiving any
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objections or defenses, that Kroger Limited Partnership I operates the Kroger store located at 4910

I-55, Jackson, Mississippi 39211.

        14.     Denied as stated. The allegations of Paragraph 14 constitute conclusory statements

of law or fact which require no response at this time and are denied. To the extent Plaintiff is

seeking to impute liability to this Defendant, those allegations are specifically denied. This

Defendant expressly denies any fault or liability at this time.

        15.     Denied as stated. The allegations of Paragraph 15, including subparts (a.) – (d.),

constitute conclusory statements of law or fact which require no response at this time and are

denied. To the extent Plaintiff is seeking to impute liability to this Defendant, those allegations are

specifically denied. This Defendant expressly denies any fault or liability at this time.

        16.     Denied as stated. The allegations of Paragraph 16 merely constitute conclusory

statements of law or fact which require no response at this time and are denied. This Defendant

expressly denies any fault or liability at this time and further denies that the Plaintiff is entitled to

any award in any amount or relief in any nature.

        17.     Denied as stated. The allegations of Paragraph 17, including subparts (a.) – (i.),

constitute conclusory statements of law or fact which require no response at this time and are

denied. To the extent Plaintiff is seeking to impute liability to this Defendant, those allegations are

specifically denied. This Defendant expressly denies any fault or liability at this time and further

denies that the Plaintiff is entitled to any award in any amount or relief in any nature.

                                       PRAYER OF RELIEF

        In answer to the final paragraph which begins with the phrase “WHEREFORE,

PREMISES CONSIDERED,” Kroger Defendant at this time denies liability and denies that the

Plaintiff is entitled to a judgment against it for any of the claims and allegations included in the

complaint, or for any forms of compensatory damages, consequential, incidental, extra-contractual

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and/or punitive damages, or costs and expenses, costs of court, attorney's fees, pre-judgment

interest, post-judgement interest or for any other relief or recovery of any kind, type, or sort

whatsoever.

                            ADDITIONAL AFFIRMATIVE DEFENSES

        And now, without waiving any defenses that have already been asserted, Kroger states the

following:

                                          THIRD DEFENSE

            The affirmative statements and denials contained in the foregoing Answer are incorporated

herein by reference.

                                         FOURTH DEFENSE

            The facts and circumstances not being fully discovered, Kroger expressly reserves the

right to assert that it did all required of it in the premises and was in no way negligent or otherwise

at fault.

                                          FIFTH DEFENSE

            The facts and circumstances not being fully discovered, Kroger expressly reserves the

right to assert that it was at all times in compliance with the requisite standard of care and is not

liable or responsible to the Plaintiff for any reason whatsoever.

                                          SIXTH DEFENSE

        The facts and circumstances not being fully discovered, Kroger expressly reserves the right

to assert, if applicable, and subject to withdrawal, contributory negligence as a defense hereto, and

asserts §11-7-15 of the Mississippi Code.

                                        SEVENTH DEFENSE

            The facts and circumstances not being fully discovered, Kroger expressly reserves the

right to assert, if applicable, and subject to withdrawal, failure to exercise due and proper caution

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for Plaintiff’s own safety, and that the Plaintiff’s conduct is the sole or a proximate cause of

whatever may have occurred.

                                       EIGHTH DEFENSE

        If applicable, and subject to withdrawal, Kroger asserts § 85-5-7 of the Mississippi Code.

                                           NINTH DEFENSE

        That Kroger is in no way responsible for the acts of others who are not under its direction

and control.

                                       TENTH DEFENSE

        If applicable, and subject to withdrawal, Kroger asserts, as may be applicable in this action,

any and all defenses of pre-existing medical conditions, or disease, handicap, or lesions, or any

other condition involving the Plaintiff.

                                     ELEVENTH DEFENSE

        These answering Defendants, as may be applicable in this action, deny that the Plaintiff is

entitled to any type of recovery from these defendants.

                                     TWELFTH DEFENSE

       Kroger reserves the right to amend this Answer at any time prior to trial.

                                   THIRTEENTH DEFENSE

       Kroger Defendant, as may be applicable in this action, denies all allegations contained in

the Complaint which seek to impose liability for damages, compensatory or punitive, arising from

or connected with the allegations of the Complaint and the Plaintiff.

                                   FOURTEENTH DEFENSE

       The facts and circumstances not being fully discovered, Kroger expressly reserves the right

to assert as may be applicable in this action that the sole proximate cause, or in the alternative a

proximate contributing cause, of any alleged damages sustained by the Plaintiff is the negligence

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or wrongful acts of others for which Kroger is not liable or is the direct result of other causes and

conditions over which Kroger had no control.

                                    FIFTEENTH DEFENSE

       The facts not having been fully developed, Kroger affirmatively pleads the following

affirmative defenses as may be applicable in this action: improper venue; insufficiency of process

or the service of process; failure to join necessary parties; the terms, provisions and conditions of

any contract or agreement; accord and satisfaction, assumption of risk; contributory negligence;

estoppel; failure of consideration; fraud; illegality; injury by fellow servant; laches; license;

payment; release; res judicata; statute of frauds; statute of limitations; waiver; the alleged losses

and damages complained of were proximately caused or proximately contributed to by external

forces, acts of nature, force majeure, or negligent acts of others for whom this Defendant is not

responsible or liable; and any other matter constituting an avoidance or affirmative defense.

                                    SIXTEENTH DEFENSE

       Kroger invokes the limitations, protections, caps on non-economic damages, and

immunities afforded it by the Mississippi Malpractice Tort Reform Act, as amended including, but

not limited to, Section 7, MCA § 11-1-65; the Mississippi Constitution and the United States

Constitution. Without waiving any other affirmative defense and pleading in the alternative, this

Defendant further pleads being entitled to all rights, benefits and privileges afforded by the

Mississippi Legislature and the Mississippi Code, in particular but not limited to certain

enactments as set forth in the 2002 Mississippi Laws Third Extraordinary Session, Chapter 4 (H.B.

No. 19) – Civil Justice Reform Act and the 2004 Mississippi Laws First Extraordinary Session,

Chapter 1 (H.B. No. 13) – Civil Procedure – Tort Reform – Venues; Damages; Juries, etc. and this

Defendant expressly reserves all rights provided thereby, including transfer of venue, and

limitations on damages.

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                                  SEVENTEENTH DEFENSE

       The facts and circumstances not being fully discovered, Kroger expressly reserves the

right, as may be applicable in this action, to assert that any alleged losses and damages complained

of by the Plaintiff were proximately caused or proximately contributed to by the Plaintiff, or by

external forces, acts of nature, force majeure, or negligent or wrongful acts of others for whom

Defendants are not responsible nor liable.

                                   EIGHTEENTH DEFENSE

       The facts and circumstances not being fully discovered, this answering Defendant

expressly reserves the right, as may be applicable in this action, to assert and seek contribution and

apportionment from others pursuant to Miss. Code Ann. § 85-5-7. Any fault of Kroger, although

Kroger expressly denies any fault, was minimal and of no consequence in comparison to the

wrongful acts of the Plaintiff or others for which Kroger is not responsible, therefore Kroger is

entitled to apportionment, contribution, and/or indemnity from any other entities at fault, and

Kroger is responsible only for any percentage of fault directly attributable to it.

                                    NINETEENTH DEFENSE

       The facts and circumstances not being fully discovered, this answering Defendant

expressly reserves the right to assert, if appropriate, as may be applicable in this action, that

Plaintiff failed to mitigate damages, if any. Kroger should not be liable or responsible for damages

allegedly sustained by the Plaintiff, if any, that were caused or contributed to by the Plaintiff’s

negligence and failure to mitigate damages or take reasonable steps to avoid damages, or lessen

resulting damages, or otherwise exercise ordinary or reasonable care and diligence.

                                    TWENTIETH DEFENSE

       In the event subsequent investigation reveals that the Plaintiff’s damages, if any, are the

result of intervening acts or subsequent or superseding events which were the proximate or

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substantially contributing cause, this Defendant, as may be applicable in this action, reserves the

right to defend on said basis.

                                   TWENTY FIRST DEFENSE

        As a matter of fact, the Plaintiff has no claim against this Defendant.

                                  TWENTY SECOND DEFENSE

        As a matter of law, the Plaintiff has no claim against this Defendant.

                                   TWENTY THIRD DEFENSE

        This Defendant denies all of the allegations of the Complaint not specifically admitted in

the answer, and, as may be applicable in this action, denies that the Plaintiff is entitled to any relief

whatsoever from this Defendant.

                                 TWENTY FOURTH DEFENSE

        If appropriate, and subject to withdrawal, if Plaintiff failed to mitigate damages this

Defendant should not be liable or responsible for damages allegedly sustained by the Plaintiff, if

any, that were caused or contributed to by the Plaintiff’s negligence and failure to mitigate damages

or take reasonable steps to avoid damages, or lessen resulting damages, or otherwise exercise

ordinary or reasonable care and diligence.

                                   TWENTY FIFTH DEFENSE

        Defendant reserves the right to file any claim allowed to it pursuant to Rules 13 and/or 14

of the Federal Rules of Civil Procedure, and places the Plaintiff on notice of such.

                                   TWENTY SIXTH DEFENSE

        In the event subsequent investigation reveals that the Plaintiff’s damages, if any, are the

result of an intervening act or subsequent or superseding event which was the sole proximate or

substantially contributing cause, this Defendant reserves the right to defend on said basis.



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       AND NOW, having answered the allegations as contained in the Complaint, and having

asserted defenses thereto, Defendant prays that the Plaintiff’s Complaint should be dismissed and

that all costs associated with the Complaint should be taxed against the Plaintiff, including the

Defendant’s expenses and legal fees, and Defendant further prays for any other relief this Court

may deem appropriate.

       RESPECTFULLY SUBMITTED, this the _ 13th day of August, 2021.

                                                    KROGER LIMITED PARTNERSHIP I,
                                                    Defendant

                                            BY:     /s/ Michael E. Phillips____________
                                                    Michael E. Phillips (MSB # 100119)




OF COUNSEL:

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                                CERTIFICATE OF SERVICE
       I, the undersigned, one of the attorneys of record for Defendant, Kroger Limited

Partnership I, do hereby certify that I have this day served copies of the foregoing Answer and

Defenses via the ECF filing system, which sent notice to the following counsel of record:

       Harry M. McCumber (MSB No. 10632)
       MORGAN & MORGAN, PLLC
       4450 Old Canton Road, Suite 200
       Jackson, MS 39211
       Telephone: (601) 718-0921
       Facsimile: (601) 503-1650
       hmccumber@forthepeople.com
              Attorney for Plaintiff

       THIS, the 13th day of August, 2021.

                                                           /s/ Michael E. Phillips
                                                            Michael E. Phillips




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